                                                Case 18-55697-lrc                  Doc 300     Filed 07/30/20 Entered 07/30/20 18:31:35                                       Desc
                                                                                                   Page 1 of 5
                                                                                       Form 1
                                                                                                                                                                                                           Page: 1-1
                                                                   Individual Estate Property Record and Report
                                                                                    Asset Cases
Case No.:    18-55697-LRC                                                                                                                   Trustee Name:        (300320) S. Gregory Hays
Case Name:      LANDRY, CASSANDRA JOHNSON                                                                                                   Date Filed (f) or Converted (c): 09/14/2018 (c)
                                                                                                                                            § 341(a) Meeting Date:       11/27/2018
For Period Ending:      06/30/2020                                                                                                          Claims Bar Date: 05/20/2019

                                                    1                                               2                              3                            4                      5                          6

                                            Asset Description                                    Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                      Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                  Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                     and Other Costs)                                                             Remaining Assets

    1       2969 Sweetbriar Walk, Snellville, GA 30039, Gwinnett County                                  89,750.00                               0.00           OA                                 0.00                        FA
            One-half interest. Entire property value: $179,500. Abandoned per Notice, Docket
            # 155.

    2       1440 Highland Lake Dr, Lawrenceville, GA 30045, Gwinnett County                             156,750.00                               0.00           OA                                 0.00                        FA
            One-half interest. Entire property value: $313,500. Abandoned per Notice, Docket
            # 155.

    3       869 Natchez Valley Trace, Grayson, GA 30017, Gwinnett County                                222,300.00                               0.00           OA                                 0.00                        FA
            One-half interest. Entire property value: $444,600. Abandoned per Notice, Docket
            # 155.

    4       2001 Merce 500CL                                                                             20,000.00                            627.83            OA                                 0.00                        FA
            Abandoned per Notice, Docket # 155.

    5       Major Appliances, furniture, linens, china, and kithenware                                    8,500.00                          7,500.00                                               0.00                        FA

    6       radios, computer, printers, cellphone, media player                                           3,500.00                          3,200.00                                               0.00                        FA

    7       Artwork                                                                                       5,000.00                          4,850.00                                               0.00                        FA

    8       Pistol and ammunition                                                                            450.00                           450.00            OA                                 0.00                        FA
            Abandoned per Notice, Docket # 155.

    9       Everyday clothes, furs, leather coats, designer wear, shoes, and accessories                 10,000.00                          9,500.00                                               0.00                        FA

    10      Everyday jewelry, costume jewelry, engagement ring, wedding ring,                            15,000.00                         14,900.00                                               0.00                        FA

    11      Dog Shih-Tzu                                                                                  1,000.00                          1,000.00            OA                                 0.00                        FA
            Abandoned per Notice, Docket # 155.

    12      Cash                                                                                             150.00                              0.00                                              0.00                        FA

    13      Checking account: Publix Credit Union                                                            200.00                              0.00                                              0.00                        FA

    14      Savings account: Publix Credit Union                                                             200.00                              0.00                                              0.00                        FA

    15      Alliance For Change Through Treatment, 95% ownership                                        500,000.00                               0.00           OA                                 0.00                        FA
            Abandoned per Notice, Docket # 155.
                                                Case 18-55697-lrc                   Doc 300     Filed 07/30/20 Entered 07/30/20 18:31:35                                       Desc
                                                                                                    Page 2 of 5
                                                                                       Form 1
                                                                                                                                                                                                            Page: 1-2
                                                                   Individual Estate Property Record and Report
                                                                                    Asset Cases
Case No.:    18-55697-LRC                                                                                                                    Trustee Name:        (300320) S. Gregory Hays
Case Name:      LANDRY, CASSANDRA JOHNSON                                                                                                    Date Filed (f) or Converted (c): 09/14/2018 (c)
                                                                                                                                             § 341(a) Meeting Date:       11/27/2018
For Period Ending:      06/30/2020                                                                                                           Claims Bar Date: 05/20/2019

                                                     1                                               2                              3                            4                      5                          6

                                            Asset Description                                     Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                       Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                   Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                      and Other Costs)                                                             Remaining Assets

    16      Attachment and Bonding Ctr of Atlanta, 95% ownership                                         100,000.00                               0.00           OA                                 0.00                        FA
            Abandoned per Notice, Docket # 155.

    17      Therapeutic Essentials, 0% ownership                                                          25,000.00                               0.00           OA                                 0.00                        FA
            Abandoned per Notice, Docket # 155.

    18      Licensed Professional Counselor                                                                   150.00                              0.00           OA                                 0.00                        FA
            Abandoned per Notice, Docket # 155.

    19      2016 State of Georgia already filed: State                                                        769.00                           769.00                                               0.00                        FA

   20*      Insurance Policy: Farmers New World: Beneficiary: Ivy T Landry (See Footnote)                 75,000.00                         75,000.00                                               0.00                        FA

   21*      Insurance Policy: Northwestern Mutual: Beneficiary Ivy T Landry (See Footnote)               100,000.00                        100,000.00                                       33,867.62                           FA

   22*      Northwestern Mutual - Variable Annunity (See Footnote)                                       100,000.00                        100,000.00                                       83,001.16                           FA

    23      ADVERSARY PROCEEDING NO. 19-5218-LRC. Cassandra Johnson Landry V.                       85,000,000.00                                 0.00           OA                                 0.00                        FA
            H&R BLOCK MORTGAGE LLC, MORTGAGE ELECTRONIC SYSTEMS,
            OPTION ONE MORTGAGE, OCWEN LOAN, SERVICING, LLC, PHH
            MORTGAGE SERVICES, DEUTSCHE BANK NATIONALTRUST COMPANY (u)
            Notice of abandonment filed on 12/5/19, Dkt # 237.

    24      3 auto accident claims (u)                                                                    Unknown                                 0.00           OA                                 0.00                        FA
            Notice of abandonment filed on 12/5/19, Dkt # 237.

    25      Potential Claim against Family and Children Services (u)                                      Unknown                                 0.00           OA                                 0.00                        FA
            Notice of abandonment filed on 12/5/19, Dkt # 237.

    26      Potential Claim for investigation of Modified Transcripts for DHR Administrative              Unknown                                 0.00           OA                                 0.00                        FA
            Services which caused Petitioner to loose case which led to the non-filing of $30
            million dollar lawsuit by Dorian Murry Esq who represented agency. (u)
            Notice of abandonment filed on 12/5/19, Dkt # 237.

   26       Assets               Totals        (Excluding unknown values)                          $86,433,719.00                        $317,796.83                                     $116,868.78                       $0.00


     RE PROP# 20           Trustee filed an objection to Debtor's claimed exemption of $75k. Per letter from Farmers New World, policy is no longer in force and has no net cash value.

     RE PROP# 21           Trustee filed an objection to Debtor's claimed exemption of $100k.

     RE PROP# 22           Trustee filed an objection to Debtor's claimed exemption of $100k.
                                          Case 18-55697-lrc           Doc 300        Filed 07/30/20 Entered 07/30/20 18:31:35                        Desc
                                                                                         Page 3 of 5
                                                                             Form 1
                                                                                                                                                                                 Page: 1-3
                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case No.:    18-55697-LRC                                                                                                Trustee Name:     (300320) S. Gregory Hays
Case Name:     LANDRY, CASSANDRA JOHNSON                                                                                 Date Filed (f) or Converted (c): 09/14/2018 (c)
                                                                                                                         § 341(a) Meeting Date:   11/27/2018
For Period Ending:     06/30/2020                                                                                        Claims Bar Date: 05/20/2019




      Major Activities Affecting Case Closing:
                                    The case was originally filed as a Chapter 13 case on 4/3/18. It was converted to Chapter 7 on 9/14/18. The two previous Chapter 7 Trustees rejected
                                    their appointment. Trustee was appointed on 10/24/18.

                                    The Trustee has received the proceeds from the liquidation of a variable annuity and life insurance policy at Northwestern Mutual. The Trustee intends
                                    to file objections to certain claims. Upon resolution of the claim issues the Trustee will submit his Trustee's Final Report.

      Initial Projected Date Of Final Report (TFR):           06/30/2021                                 Current Projected Date Of Final Report (TFR):              06/30/2021


             07/30/2020                                                                                   /s/S. Gregory Hays

                Date                                                                                      S. Gregory Hays
                                               Case 18-55697-lrc      Doc 300            Filed 07/30/20 Entered 07/30/20 18:31:35                             Desc
                                                                                             Page 4 of 5
                                                                                Form 2
                                                                                                                                                                                            Page: 2-1
                                                                Cash Receipts And Disbursements Record
Case No.:                       18-55697-LRC                                                            Trustee Name:                 S. Gregory Hays (300320)
Case Name:                      LANDRY, CASSANDRA JOHNSON                                               Bank Name:                    East West Bank
Taxpayer ID #:                  **-***8877                                                              Account #:                    ******0309 Checking
For Period Ending:              06/30/2020                                                              Blanket Bond (per case limit): $30,203,000.00
                                                                                                        Separate Bond (if applicable): N/A

    1          2                                3                                                        4                                         5                       6                      7

  Trans.    Check or                  Paid To / Received From                       Description of Transaction                 Uniform          Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                                                           Tran. Code          $                        $

 06/11/20     {22}       Northwestern Mutual                       Annuity # xxxx8418 Surrender                                1129-000                 83,001.16                                     83,001.16
 06/16/20     {21}       Northwestern Mutual                       Net surrender value of policy # xxxx6500                    1129-000                 33,867.62                                 116,868.78
 06/30/20                East West Bank                            Bank and Technology Services Fees                           2600-000                                         103.05            116,765.73

                                                                      COLUMN TOTALS                                                                 116,868.78                  103.05           $116,765.73
                                                                              Less: Bank Transfers/CDs                                                       0.00                  0.00
                                                                      Subtotal                                                                      116,868.78                  103.05
                                                                              Less: Payments to Debtors                                                                            0.00

                                                                      NET Receipts / Disbursements                                                 $116,868.78                 $103.05




{ } Asset Reference(s)                                                                                                                                              ! - transaction has not been cleared
                                           Case 18-55697-lrc   Doc 300       Filed 07/30/20 Entered 07/30/20 18:31:35                    Desc
                                                                                 Page 5 of 5
                                                                        Form 2
                                                                                                                                                          Page: 2-2
                                                        Cash Receipts And Disbursements Record
Case No.:                  18-55697-LRC                                              Trustee Name:                 S. Gregory Hays (300320)
Case Name:                 LANDRY, CASSANDRA JOHNSON                                 Bank Name:                    East West Bank
Taxpayer ID #:             **-***8877                                                Account #:                    ******0309 Checking
For Period Ending:         06/30/2020                                                Blanket Bond (per case limit): $30,203,000.00
                                                                                     Separate Bond (if applicable): N/A


                                        Net Receipts:          $116,868.78
                           Plus Gross Adjustments:                   $0.00
                         Less Payments to Debtor:                    $0.00
                 Less Other Noncompensable Items:                    $0.00

                                          Net Estate:          $116,868.78




                                                                 TOTAL - ALL ACCOUNTS                    NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                                 ******0309 Checking                           $116,868.78              $103.05      $116,765.73

                                                                                                                 $116,868.78                    $103.05    $116,765.73
